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                                   4                                   UNITED STATES DISTRICT COURT

                                   5                                  NORTHERN DISTRICT OF CALIFORNIA

                                   6

                                   7     ZHUOER CHEN, et al.,                              Case No. 25-cv-03292-SI
                                   8                    Plaintiffs,
                                                                                           EX PARTE TEMPORARY
                                   9               v.                                      RESTRAINING ORDER
                                  10     KRISTI NOEM, et al.,                              Re: Dkt. No. 7
                                  11                    Defendants.

                                  12
Northern District of California
 United States District Court




                                  13          The plaintiffs in this action are four international students present in the United States in

                                  14   what the government calls “F-1 status” for graduate studies or post-graduate practical training.

                                  15   Earlier this month, without any prior notice, they learned from their sponsoring universities that

                                  16   their records in the comprehensive federal database (the Student and Exchange Visitor Information

                                  17   System or “SEVIS”) that monitors the activities of foreign students had been terminated by the

                                  18   government. While none of the four have any criminal convictions in the United States, the reason

                                  19   for termination entered into the system was that each had been “identified in criminal records check

                                  20   and/or has had their visa revoked.” Without an active record in the government’s system, they

                                  21   contend they cannot study, work, or remain in the country. Plaintiffs seek a temporary restraining

                                  22   order (TRO) restoring their status in the system and restoring the status of all similarly situated

                                  23   foreign students across the country who do not have a criminal conviction on their record.

                                  24          The Court originally scheduled a hearing on plaintiffs’ TRO motion for Monday, April 21,

                                  25   2025. However, there are now at least five other cases that have been filed in this district by F-1

                                  26   students.    Case Nos. 4:25-cv-03140-JSW, 5:25-cv-03244-NW, 3:25-cv-03323-AGT, 5:25-cv-

                                  27   03383-SVK, 3:25-cv-03407-EMC. The lowest-numbered case has been assigned to Judge Jeffrey

                                  28   White. Under the Northern District’s Civil Local Rules, Judge White is considering whether to
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                                   1   relate the cases; if deemed related, this case would be reassigned to him. See Civil L.R. 3-12. To

                                   2   give time for Judge White to hear from the parties and make his determination, this Court has

                                   3   delayed the TRO hearing until Thursday, April 24, 2025 at 11:00 a.m.

                                   4            Withholding judgment on plaintiffs’ claim for broader relief, the Court has determined that

                                   5   some interim protections for the named plaintiffs are necessary to preserve the status quo. In making

                                   6   this determination, the Court follows two other judges in this district that have granted F-1 student

                                   7   plaintiffs temporary relief. See 4:25-cv-03140-JSW, Dkt. No. 16; 5:25-cv-03244-NW, Dkt. No. 13.

                                   8
                                   9                                            BACKGROUND

                                  10   I.       Factual Background

                                  11            A.     Named Plaintiffs

                                  12            Plaintiff Zhuoer Chen is a Chinese F-1 student seeking a master’s degree in architecture
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                                  13   from the University of California at Berkeley. Dkt. No. 7-5 (“Chen Decl.”) ¶¶ 2-3. Chen is

                                  14   scheduled to present her final research and graduate in May 2025. Id. ¶¶ 3, 8. She has maintained

                                  15   lawful F-1 student status. Id. She was arrested in November 2022 for an alleged minor physical

                                  16   altercation with a friend, but has never been charged with a crime. Id. ¶ 7. On April 8, 2025, her

                                  17   university informed her that her SEVIS record had been terminated by the government. Id. ¶ 6. The

                                  18   termination reason was listed as “OTHER – Individual identified in criminal records check and/or

                                  19   has had their visa revoked.” Id., Ex. A. The university informed her that her pending optional

                                  20   practical training (OPT) request would likely be denied but could not confirm whether her visa had

                                  21   been officially revoked. Id.

                                  22            Plaintiff Gexi Guo is a Chinese F-1 nonimmigrant currently in OPT in New York City. Dkt.

                                  23   No. 7-6 (“Guo Decl.”) ¶ 2. He has been in the United States for eight years, earning a Bachelor of

                                  24   Science degree and a graduate degree. Id. ¶ 3. He has maintained lawful F-1 student status. Id.

                                  25   He was arrested once in May 2024 for an alleged simple assault, but the charge was dismissed and

                                  26   expunged by an August 2024 court order, which states that the incident “shall be deemed not to have

                                  27   occurred.” Id. ¶ 5, Ex. A. Guo received a notice from his graduate university on April 8, 2025, that

                                  28   his SEVIS record had been terminated by the government. Id., Ex. B. The listed termination reason
                                                                                         2
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                                   1   was “OTHER – Individual identified in criminal records check and/or has had their visa revoked.”

                                   2   Id.

                                   3          Plaintiff Mengcheng Yu is a Chinese F-1 master’s student at Carnegie Mellon University,

                                   4   set to graduate in August 2025. Dkt. No. 7-7 (“Yu Decl.”) ¶¶ 2-3. She has lived in the United States

                                   5   since the age of 16. Id. ¶ 3. She has maintained lawful F-1 student status. Id. ¶ 3. She has no

                                   6   criminal record, including no arrests. Id. ¶ 5. In 2015, she unknowingly enrolled in a sham

                                   7   university set up by the federal government as a sting operation. Id. She was a member of a

                                   8   settlement agreement in that case where the government agreed not to use her enrollment as a reason

                                   9   to deny any immigration benefits. Id. On April 4, 2025, her SEVIS status changed to terminated,

                                  10   with the reason listed as “OTHERWISE FAILING TO MAINTAIN STATUS – Individual

                                  11   identified in criminal records check and/or has had their VISA revoked.” Id., Ex. A.

                                  12          Plaintiff Jiarong Ouyang is a Chinese F-1 student pursuing a Ph.D. in statistics at the
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                                  13   University of Cincinnati, scheduled to graduate in April 2026. Dkt. No. 7-8 (“Ouyang Decl.”) ¶¶

                                  14   2-3. He lives in the U.S. with his wife and young sons. Id. ¶ 8. He has maintained lawful F-1

                                  15   student status. Id. ¶ 3. In January 2019, he was arrested for an alleged domestic dispute, but the

                                  16   charges were formally dismissed. Id. ¶ 6. At the time, his visa was revoked as a result of his arrest,

                                  17   but he remained in lawful status. Id. He later switched to F-2 status then returned to F-1 with the

                                  18   government’s approval. Id. In early April of this year he received a notice from his university that

                                  19   the government had terminated his SEVIS record with the reason, “OTHERWISE FAILING TO

                                  20   MAINTAIN STATUS – Individual identified in criminal records check and/or has had their VISA

                                  21   revoked.” Id. ¶ 7, Ex. A.

                                  22          In summary, none of the four named plaintiffs have been convicted of a crime and all attest

                                  23   that they have remained in lawful status. Without prior notice or opportunity to object, all four

                                  24   learned in early April 2025 that their SEVIS records had been terminated because they were

                                  25   identified in a criminal records check or had their visa revoked. Chen Decl. ¶ 6; Guo Decl. ¶ 5; Yu

                                  26   Decl. ¶ 4; Ouyang Decl. ¶ 7. All four have stated that the SEVIS termination has severely disrupted

                                  27   their studies, work, or family life and immediately compromised their ability to stay in the United

                                  28   States. Chen Decl. ¶ 8; Guo Decl. ¶ 6; Yu Decl. ¶ 6; Ouyang Decl. ¶ 8. All four expressed fear and
                                                                                         3
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                                   1   anxiety regarding their current status, including the possibility of immediate deportation by the

                                   2   government. Chen Decl. ¶ 9; Guo Decl. ¶ 6; Yu Decl. ¶ 6; Ouyang Decl. ¶ 8.

                                   3

                                   4          B.      Other Similarly Situated F-1 Students

                                   5          Plaintiffs attach to their motion counsel’s declaration that on April 12 and 13, 2025, they

                                   6   received messages from more than fifty students whose SEVIS records were terminated. Dkt. No.

                                   7   7-4 (“Zhu Decl.”) ¶ 3. Thirty-six students from thirty schools provided sworn declarations. Id. ¶¶

                                   8   3-4, Exs. A-JJ. Of these thirty-six, thirty-one are Chinese and all but two explicitly declare they

                                   9   have never been convicted of a crime.1 Id.

                                  10          Plaintiffs have also included for the Court’s review more than forty news articles or posts

                                  11   that document SEVIS terminations for F-1 students around the country. Dkt. No. 7-3 (“Yao Decl.”)

                                  12   ¶ 3, Exs. A-AW. The articles report that the students’ universities were uninvolved with and
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                                  13   unaware of the terminations. Id. ¶ 55. One report references 121 students in California who have

                                  14   seen their SEVIS record terminated; another reported that more than 525 visas have been revoked

                                  15   nationwide. Id., Exs. U, AJ.

                                  16

                                  17   II.    Legal and Regulatory Framework

                                  18          An individual “having a residence in a foreign country which he has no intention of

                                  19   abandoning, who is a bona fide student qualified to pursue a full course of study and who seeks to

                                  20   enter the United States temporarily and solely for the purpose of pursuing such a course of study”

                                  21   is considered a “nonimmigrant.” 8 U.S.C. § 1101(a)(15)(F)(i). Federal regulations designate this

                                  22   classification of nonimmigrant student as “F-1,” 8 C.F.R. § 214.1(a)(2), and provide guidelines for

                                  23   individuals who are granted F-1 status, 8 C.F.R. § 214.2(f). The status of F-1 nonimmigrant students

                                  24   is managed jointly by the federal government and universities through SEVIS, a database run by

                                  25   U.S. Immigration and Customs Enforcement (ICE). Dkt. No. 7-1, Ex. 4 (“AILA Brief”) at 2; Dkt.

                                  26

                                  27
                                              1
                                                The remaining two imply they have not been convicted but do not say so explicitly. Zhu
                                  28   Decl., Exs. J, CC.
                                                                                        4
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                                   1   No. 7-9 (“Feng and Fu Von Trapp Decl.”) ¶ 5.

                                   2          A nonimmigrant may fail to maintain their nonimmigrant status by accepting unauthorized

                                   3   employment, providing false information to the government, or receiving a “conviction in a

                                   4   jurisdiction in the United States for a crime of violence for which a sentence of more than one year

                                   5   imprisonment may be imposed (regardless of whether such sentence is in fact imposed).” 8 C.F.R.

                                   6   § 214.1(e)-(f). If a student fails to maintain status for any reason, schools must report this in SEVIS.

                                   7   8 C.F.R. § 214.3(g)(2)(ii)(A). Nonimmigrants who fail to maintain their status in such a way are

                                   8   deportable. 8 U.S.C. § 1227(a)(1)(C)(i).

                                   9          A nonimmigrant may also have their status terminated

                                  10                  by the revocation of a waiver authorized on his or her behalf under
                                                      section 212(d) (3) or (4) of the Act; by the introduction of a private
                                  11                  bill to confer permanent resident status on such alien; or, pursuant to
                                                      notification in the Federal Register, on the basis of national security,
                                  12                  diplomatic, or public safety reasons.
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                                       8 C.F.R. § 214.1(d). If an F-1 student loses their status, they may apply for reinstatement when
                                  13
                                       “[t]he violation of status resulted from circumstances beyond the student’s control” or “[t]he
                                  14
                                       violation relates to a reduction in the student’s course load that would have been within a [school
                                  15
                                       official’s] power to authorize, and that failure to approve reinstatement would result in extreme
                                  16
                                       hardship to the student.” 8 C.F.R. § 214.2(f)(16)(i)(F)(1)-(2). The government’s decision whether
                                  17
                                       to reinstate the student’s status is discretionary and non-appealable. Id., subd. (f)(16)(i)-(ii).
                                  18
                                              When the SEVIS record of an F-1 nonimmigrant is terminated, the student faces “serious
                                  19
                                       consequences.” Feng and Fu Von Trapp Decl. ¶ 15. The student “typically” loses nonimmigrant
                                  20
                                       status and must plan to leave the country. Id. ¶ 13. Termination means the student loses all
                                  21
                                       employment authorization, the student cannot re-enter the United States, ICE “may investigate to
                                  22
                                       confirm the departure of the student,” and any dependents on F-2 status also have their records
                                  23
                                       terminated. Id.; see Department of Homeland Security, Terminate a Student, Study in the States,
                                  24
                                       https://studyinthestates.dhs.gov/sevis-help-hub/student-records/completions-and-
                                  25
                                       terminations/terminate-a-student [https://perma.cc/796U-7BUY].
                                  26

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                                                                                          5
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                                   1   III.   Procedural Background

                                   2          Plaintiffs filed their complaint on Friday, April 11, 2025, and the case was assigned to this

                                   3   Court on Monday, April 14, 2025. Dkt. Nos. 1, 3. The complaint asserts that the termination of

                                   4   plaintiffs’ SEVIS records violates the Administrative Procedure Act (APA) as well plaintiffs’ due

                                   5   process and equal protection rights under the Fifth Amendment. Dkt. No. 1 ¶¶ 39-58. Plaintiffs’

                                   6   complaint seeks relief for themselves and “all similarly situated F-1 visa holders—who have not

                                   7   been convicted of any criminal offense, have maintained academic standing, and are otherwise in

                                   8   compliance with the terms of their visa.” Id. at 13.

                                   9          Plaintiffs filed a motion for a temporary restraining order (TRO) on Tuesday, April 15, 2025,

                                  10   and effectuated service on defendants that same day. Dkt. Nos. 7, 8. The motion requests that the

                                  11   Court issue a nationwide TRO

                                  12                  (i) directing Defendants to reinstate the SEVIS records and F-1
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                                                      student status of Plaintiffs and all other F-1 students who have no
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                                  13                  record of criminal conviction and whose SEVIS records and F-1 visa
                                                      status have been terminated or revoked since March 1, 2025; and (ii)
                                  14                  prohibiting Defendants from issuing future SEVIS terminations
                                                      against F-1 international students without record of criminal
                                  15                  conviction absent notice, individualized explanation, and an
                                                      opportunity to respond.
                                  16   Dkt. No. 7 (“Mot.”) at 24. The government’s opposition was due at 5:00 p.m. on Friday, April 18,
                                  17   2025, but at the government’s request the Court granted a stipulation extending the deadline to 9:00
                                  18   p.m. the same day. Dkt. No. 16.
                                  19

                                  20                                          LEGAL STANDARD
                                  21          A party may seek a temporary restraining order to preserve the status quo and prevent
                                  22   irreparable harm until a preliminary injunction hearing may be held. Reno Air Racing Ass’n, Inc. v.
                                  23   McCord, 452 F.3d 1126, 1131 (9th Cir. 2006) (citing Granny Goose Foods, Inc. v. Teamsters, 415
                                  24   U.S. 423, 438-39 (1974)); Fed. R. Civ. P. 65(b). The standard for evaluating a TRO is “substantially
                                  25   identical” to the standard for evaluating injunctive relief. Babaria v. Blinken, 87 F.4th 963, 976 (9th
                                  26   Cir. 2023), cert. denied sub nom. Babaria v. Jaddou, 145 S. Ct. 160 (2024) (internal quotation marks
                                  27   and citations omitted).
                                  28
                                                                                         6
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                                   1           “[I]njunctive relief [is] an extraordinary remedy that may only be awarded upon a clear

                                   2   showing that the plaintiff is entitled to such relief.” Winter v. Nat. Res. Def. Council, 555 U.S. 7,

                                   3   22 (2008). In order to obtain a preliminary injunction, the plaintiff “must establish that he is likely

                                   4   to succeed on the merits, that he is likely to suffer irreparable harm in the absence of preliminary

                                   5   relief, that the balance of equities tips in his favor, and that an injunction is in the public interest.”

                                   6   Id. at 20 (citations omitted). The final two factors “merge when the Government is the opposing

                                   7   party.” Nken v. Holder, 556 U.S. 418, 435 (2009).

                                   8           Alternatively, under the “serious questions” test, the plaintiff may demonstrate “that serious

                                   9   questions going to the merits were raised and the balance of hardships tips sharply in the plaintiff’s

                                  10   favor,” so long as the other two Winter factors are also met. All. for the Wild Rockies v. Cottrell,

                                  11   632 F.3d 1127, 1134-35 (9th Cir. 2011) (internal quotation marks and citation omitted). This

                                  12   formulation recognizes a sliding scale approach, where “a stronger showing of one element may
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                                  13   offset a weaker showing of another.” Id., 1131, 1134-35.

                                  14

                                  15                                               DISCUSSION

                                  16           The government has been provided notice of plaintiffs’ motion but has not yet submitted its

                                  17   opposition. Accordingly, the Court considers this order to be a ruling on an emergency ex parte

                                  18   application for a temporary restraining order. While “very few circumstances” justify an ex parte

                                  19   TRO, the Court finds it appropriate at this stage to protect the named plaintiffs from further adverse

                                  20   actions until Judge White, or this Court if the case is not re-assigned, has an opportunity to consider

                                  21   the matter. See Reno Air Racing Ass’n, 452 F.3d at 1131.

                                  22           Plaintiffs establish a likelihood of success as to the merits of their APA claim that

                                  23   defendants’ actions to terminate their SEVIS record were arbitrary and capricious. The termination

                                  24   of a SEVIS record has been considered a “final agency action,” reviewable by Courts under the

                                  25   APA. See Jie Fang v. Dir. United States Immigr. & Customs Enf’t, 935 F.3d 172, 185 (3d Cir.

                                  26   2019). There is no indication that the government has met its own regulatory requirements for the

                                  27   termination of a SEVIS record. See 8 C.F.R. § 214.1(d). Nor is there evidence that the plaintiffs

                                  28   have failed to maintain their F-1 status. While three of the four plaintiffs have been arrested, none
                                                                                           7
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                                   1   have any convictions on their record, let alone a conviction for a crime of violence with a term of

                                   2   imprisonment that exceeds one year. See id., subd. (g). The record does not indicate whether

                                   3   plaintiffs’ visas have been revoked, but plaintiffs put forward evidence that visa revocation does not

                                   4   necessarily lead to termination of F-1 status. See Dkt. No. 7-1, Ex. 3; Dkt. No. 7-1, Ex. 2 at 3 (“Visa

                                   5   revocation is not, in itself, a cause for termination of the student’s SEVIS record.”). Plaintiffs’

                                   6   expert, an immigration attorney with forty-five years of experience in the field, declares that the

                                   7   government has taken these actions to encourage “self-deport[ation]” and to “save the government

                                   8   from having to institute removal procedures.” Dkt. No. 7-10 (“Boswell Decl.”) ¶ 18. Considering

                                   9   this evidence, the Court finds that plaintiffs present a likelihood of success on, or at least raise

                                  10   serious questions going to the merits of, their APA claim.

                                  11          Plaintiffs have also shown a strong likelihood of irreparable harm in the absence of

                                  12   immediate relief. Plaintiffs assert that defendants’ actions put years of hard work and studies in
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                                  13   jeopardy. For example, plaintiff Ouyang’s university informed him he must immediately stop work.

                                  14   Ouyang Decl., Ex. A. Moreover, in their declarations, plaintiffs express concern about immediate

                                  15   arrest and detention by ICE.2 In other cases with similarly situated individuals, the government has

                                  16   refused to provide assurances that the plaintiffs will not be arrested while their litigation proceeds.

                                  17   See, e.g., Case No. 5:25-cv-03244-NW (N.D. Cal.), Dkt. No. 10-1; Case No. 1:25-cv-00133-SE-

                                  18   TSM (D. N.H.), Dkt. No. 8-1. In these circumstances, the Court is convinced that plaintiffs have

                                  19   shown a likelihood of irreparable harm.

                                  20          Finally, the final two Winters factors—merged together when the government is the

                                  21   defendant—favor plaintiffs. The government would not suffer any lasting damage by refraining

                                  22   from detaining plaintiffs, who have no record of criminal convictions and pose no safety threat to

                                  23   their communities or the nation writ large, or from allowing plaintiffs to continue their studies or

                                  24   work in the interim. The public interest is best served through a fair and thorough hearing of

                                  25

                                  26          2
                                                   Plaintiff Chen is suffering “profound psychological distress.” Chen Decl. ¶ 9. Plaintiff
                                       Guo has “suffered from sleep disruption, difficulty concentrating, and ongoing emotional
                                  27   strain . . . .” Guo Decl. ¶ 6. Plaintiff Yu is “frightened by the prospect that the government will
                                       soon arrest and deport [her].” Yu Decl. ¶ 6. Plaintiff Ouyang’s family is “in an incredibly difficult
                                  28   and uncertain situation.” Ouyang Decl. ¶ 8.
                                                                                         8
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                                   1   plaintiffs’ claims, absent any distraction or confusion that would result should the government detain

                                   2   any of the plaintiffs.

                                   3           In summary, the Court finds that plaintiffs’ APA claim merits immediate judicial

                                   4   intervention, although the Court reserves judgment on broader relief.3 A temporary restraining order

                                   5   is a tool for courts to preserve the status quo. Here, there is no question that the status quo includes

                                   6   keeping plaintiffs out of immigration detention and in continued studies and employment. The

                                   7   Court notes that in a potentially related case in this district, the plaintiffs have been granted similar

                                   8   relief. Case No. 5:25-cv-03244-NW, Dkt. No. 13.

                                   9           While plaintiffs here request nationwide relief—and indeed include declarations from thirty-

                                  10   six similarly situated individuals across the country—at this stage of the proceedings the Court

                                  11   reserves judgment on whether nationwide relief may be appropriate. The Court limits this order to

                                  12   the four named plaintiffs.
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                                  13

                                  14                                              CONCLUSION

                                  15           Therefore, to prevent irreparable harm from a potentially arbitrary and capricious

                                  16   government action, the Court therefore ORDERS as follows:

                                  17

                                  18                   (1) Defendants are enjoined for fourteen days from arresting and
                                                       incarcerating Plaintiffs Zhuoer Chen, Gexi Guo, Mengcheng Yu, and
                                  19                   Jiarong Ouyang pending resolution of these proceedings; and
                                                       (2) Defendants are enjoined for fourteen days from transferring
                                  20                   Plaintiffs Zhuoer Chen, Gexi Guo, Mengcheng Yu, and Jiarong
                                                       Ouyang outside the jurisdiction of this District pending the resolution
                                  21                   of these proceedings; and
                                  22                   (3) Defendants are enjoined for fourteen days from imposing any
                                                       legal effect that otherwise may be caused by the termination of
                                  23                   Plaintiffs’ SEVIS statuses or the potential unlawful revocation of their
                                                       F-1 visas.
                                  24           The Court further ORDERS that the hearing regarding plaintiffs’ TRO request to reinstate
                                  25   their SEVIS records be rescheduled for Thursday, April 24, 2025 at 11:00 a.m. in order to give
                                  26

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                                                Since plaintiffs’ APA claim is sufficient to merit a TRO, the Court does not find it necessary
                                  28   to rule on plaintiffs’ constitutional claims at this time.
                                                                                          9
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                                   1   Judge White time to determine whether to relate the cases. Plaintiffs may file a reply brief by 11:00

                                   2   a.m. on Tuesday, April 22, 2025.

                                   3

                                   4          IT IS SO ORDERED.

                                   5   Dated: April 18, 2025

                                   6                                                   ______________________________________
                                                                                       SUSAN ILLSTON
                                   7                                                   United States District Judge
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                                  12
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 United States District Court




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